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                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MASSACHUSETTS

DEBORAH LAUFER, Individually,            :
                                         :
             Plaintiffs,                 :
                                         :
v.                                       :              Case No. 3:20-cv-30086
                                         :
BERKSHIRE RESORTS, LLC, a Massachusetts :
Corporation,                             :
                                         :
             Defendant.                  :
_______________________________________/ :
                                         :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

BERKSHIRE RESORTS, LLC, a Massachusetts Corporation, (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of her

               own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

               handicap parking spaces located closet to the entrances of a facility. The handicap
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        and access aisles must be of sufficient width so that she can embark and disembark

        from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

        goods and services of a facility must be level, properly sloped, sufficiently wide and

        without cracks, holes or other hazards that can pose a danger of tipping, catching

        wheels or falling. These areas must be free of obstructions or unsecured carpeting

        that make passage either more difficult or impossible. Amenities must be sufficiently

        lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

        sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

        or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

        danger of scraping or burning her legs. Sinks must be at the proper height so that she

        can put her legs underneath to wash her hands. She requires grab bars both behind

        and beside a commode so that she can safely transfer and she has difficulty reaching

        the flush control if it is on the wrong side. She has difficulty getting through

        doorways if they lack the proper clearance.

2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

        "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

        determining whether places of public accommodation and their websites are in

        compliance with the ADA.

3.      According to the county property records, Defendant owns a place of public

        accommodation as defined by the ADA and the regulations implementing the ADA,

        28 CFR 36.201(a) and 36.104. The place of public accommodation that the

        Defendant owns is a place of lodging known as


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Berkshire Valley Inn Williamstown MA, a hotel business located              at 2541 Hancock Rd.,

Williamstown, MA 01267, and is located in the County of Berkshire, (hereinafter "Property").

4.            Venue is properly located in this District because the injury occurred in this district.

5.            Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

              original jurisdiction over actions which arise from the Defendant’s violations of Title

              III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

              U.S.C. § 2201 and § 2202.

6.            As the owner of the subject place of lodging, Defendant is required to comply with

              the ADA. As such, Defendant is required to ensure that it's place of lodging is in

              compliance with the standards applicable to places of public accommodation, as set

              forth in the regulations promulgated by the Department Of Justice. Said regulations

              are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

              Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

              by reference into the ADA. These regulations impose requirements pertaining to

              places of public accommodation, including places of lodging, to ensure that they are

              accessible to disabled individuals.

7.            More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

              requirement:

              Reservations made by places of lodging. A public accommodation that owns,
              leases (or leases to), or operates a place of lodging shall, with respect to
              reservations made by any means, including by telephone, in-person, or through a
              third party -
                      (i) Modify its policies, practices, or procedures to ensure that individuals
                      with disabilities can make reservations for accessible guest rooms during



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                the same hours and in the same manner as individuals who do not need
                accessible rooms;
                (ii) Identify and describe accessible features in the hotels and guest rooms
                offered through its reservations service in enough detail to reasonably
                permit individuals with disabilities to assess independently whether a
                given hotel or guest room meets his or her accessibility needs;
                (iii) Ensure that accessible guest rooms are held for use by individuals
                with disabilities until all other guest rooms of that type have been rented
                and the accessible room requested is the only remaining room of that type;
                (iv) Reserve, upon request, accessible guest rooms or specific types of
                guest rooms and ensure that the guest rooms requested are blocked and
                removed from all reservations systems; and
                (v) Guarantee that the specific accessible guest room reserved through its
                reservations service is held for the reserving customer, regardless of
                whether a specific room is held in response to reservations made by others.

8.       These regulations became effective March 15, 2012.

9.       Defendant, either itself or by and through a third party, accepts reservations for its

         hotel online through one or more websites. The purpose of these websites is so

         that members of the public may reserve guest accommodations and review

         information pertaining to the goods, services, features, facilities, benefits,

         advantages, and accommodations of the Property. As such, these websites are

         subject to the requirements of 28 C.F.R. Section 36.302(e).

10.      Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

         purpose of reviewing and assessing the accessible features at the Property and

         ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

         her accessibility needs. However, Plaintiff was unable to do so because Defendant

         failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

         As a result, Plaintiff was deprived the same goods, services, features, facilities,

         benefits, advantages, and accommodations of the Property available to the general


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         public. Specifically, on the motel's own website, www.berkshirevalleyinn.com, it

         did not identify accessible rooms, did not allow for booking of accessible rooms,

         and provided insufficient information as to whether the rooms or features at the

         hotel were accessible. The amenities and room types for standard rooms are listed

         in detail, however, no information was given about ADA accessibility in the hotel.

         On the third-party booking websites www.booking.com, www.expedia.com,

         www.hotels.com, www.orbitz.com, www.priceline.com, and

         www.reservation.worldweb.com, they also did not identify accessible rooms, did

         not allow for booking of accessible rooms, and provided insufficient information

         as to whether the rooms or features at the hotel were ADA accessible.

11.      In the near future, Plaintiff intends to revisit Defendant's websites and/or online

         reservations system in order to test them for compliance with 28 C.F.R. Section

         36.302(e) and/or to utilize the websites to reserve a guest room and otherwise

         avail herself of the goods, services, features, facilities, benefits, advantages, and

         accommodations of the Property.

12.      Plaintiff is continuously aware that the subject websites remain non-compliant and

         that it would be a futile gesture to revisit the websites as long as those violations

         exist unless she is willing to suffer additional discrimination.

13.      The violations present at Defendant's websites infringe Plaintiff's right to travel

         free of discrimination and deprive her of the information required to make

         meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

         frustration and humiliation as the result of the discriminatory conditions present at


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         Defendant's website. By continuing to operate the websites with discriminatory

         conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

         and deprives Plaintiff the full and equal enjoyment of the goods, services,

         facilities, privileges and/or accommodations available to the general public. By

         encountering the discriminatory conditions at Defendant's website, and knowing

         that it would be a futile gesture to return to the websitesunless she is willing to

         endure additional discrimination, Plaintiff is deprived of the same advantages,

         privileges, goods, services and benefits readily available to the general public. By

         maintaining a websiteswith violations, Defendant deprives Plaintiff the equality of

         opportunity offered to the general public. Defendant's online reservations system

         serves as a gateway to its hotel. Because this online reservations system

         discriminates against Plaintiff, it is thereby more difficult to book a room at the

         hotel or make an informed decision as to whether the facilities at the hotel are

         accessible.

14.      Plaintiff has suffered and will continue to suffer direct and indirect injury as a

         result of the Defendant’s discrimination until the Defendant is compelled to

         modify its websitesto comply with the requirements of the ADA and to

         continually monitor and ensure that the subject websitesremains in compliance.

15.      Plaintiff has a realistic, credible, existing and continuing threat of discrimination

         from the Defendant’s non-compliance with the ADA with respect to these

         websites. Plaintiff has reasonable grounds to believe that she will continue to be

         subjected to discrimination in violation of the ADA by the Defendant.


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16.      The Defendant has discriminated against the Plaintiff by denying her access to,

         and full and equal enjoyment of, the goods, services, facilities, privileges,

         advantages and/or accommodations of the subject website.

17.      The Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the

         ADA as requested herein.

18.      Defendant has discriminated against the Plaintiff by denying her access to full and

         equal enjoyment of the goods, services, facilities, privileges, advantages and/or

         accommodations of its place of public accommodation or commercial facility in

         violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

         Defendant continues to discriminate against the Plaintiff, and all those similarly

         situated by failing to make reasonable modifications in policies, practices or

         procedures, when such modifications are necessary to afford all offered goods,

         services, facilities, privileges, advantages or accommodations to individuals with

         disabilities; and by failing to take such efforts that may be necessary to ensure that

         no individual with a disability is excluded, denied services, segregated or

         otherwise treated differently than other individuals because of the absence of

         auxiliary aids and services.

19.      Plaintiff is without adequate remedy at law and is suffering irreparable harm.

         Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

         fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

         12205 and 28 CFR 36.505.


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20.           Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

              Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

              subject websites to make them readily accessible and useable to the Plaintiff and

              all other persons with disabilities as defined by the ADAand 28 C.F.R. Section

              36.302(e); or by closing the websitesuntil such time as the Defendant cures its

              violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.      Injunctive relief against the Defendant including an order to revise its websitesto

              comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

              maintain the websitesto ensure that it remains in compliance with said requirement.

      c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

              Respectfully Submitted,

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                           By:____________________________
                               Nicholas J. Carbone, Esq.
